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                                                                                                                                    Criminal Std (//201)
                                                                         H ON ORABLE: Victor A. Bolden
                                                    DEPUTY CLERK Kristen Gould         RPTR/ECRO/TAPE S. Montini
                                                    USPO Desiree Melendez              INTERPRETER
TOTAL TIM E:               hours 44      minutes
                                                    D ATE: 6/29/2020 START TIME: 1:07pm                           END TIME: 1:51pm
                                                         COURTROOM MINUTES
  IA-INITIAL APPEAR                       BOND HRG                           CHANGE OF PLEA                      IN CAM ERA HRG
  IA- RULE 5                              DETENTION HRG                        WAIVER/PLEA HRG                   COM PETENCY HRG
  ARRAIGNMENT                             PROBABLE CAUSE                       EXTRADITION HRG                   FORFEITURE
  CONFLICT HRG                            EVIDENTIARY HRG                    STATUS CONF027,21+5*



     CRIM INAL NO. 3:20-cr-00071-VAB-1                   DEFT # ______                     Douglas P. Morabito; Justin T. Sher
                                                                                           AUSA
                UNITED STATES OF AMERICA
                          vs                                                             James P Maguire
                     Ahmad Khalil Elshazly                                               Counsel for Defendant Ret          CJA           PDA



  . . . . . . . Deft failed to appear. Oral M otion for issuance of Warrant      granted      denied       Bond FORFEITED
  ......      Arrest Date (CT Case):                              Case unsealed or      Rule 5 arrest,            Dist of
  . . . . . . CJA 23 Financial Affidavit filed       under seal
  . . . . . . Order Appointing Federal Public Defender’s Office filed
  . . . . . . Court appoints Attorney                                    to represent defendant for       this proceeding only         all proceedings
  . . . . . . Appearance of                                                          filed
  ......       Complaint filed          Sealed Complaint filed        Affidavit of                                          filed
  ......       Information/M isdemeanor filed            Sealed Information filed
  ......       Waiver of Indictment (case opening) filed              Felony Information filed
  ......       Waiver of Indictment (mid case) filed              Superseding Information filed
  . . . . . . Plea Agreement Ltr filed      under seal      to be e-filed
    . . . . . . Plea of    not guilty   guilty      nolo contendere to count(s) one             of the indictment
  . . . . . . Petition to Enter Guilty Plea filed                                                     (indict, superseding indict, info)
  . . . . . . Defendant motions due                                   ; Government responses due
  . . . . . . Scheduling Order       filed    to be filed   Sentencing Scheduling Order
  . . . . . . . Hearing on Pending M otions scheduled for                       at
  . . . . . . Jury Selection set for 9/08/2020                       at TBD
  . . . . . . Remaining Count(s) to be dismissed at sentencing
  . . . . . . Sentencing set for                            at                          Probation 246B Order for PSI & Report
  . . . . . . Special Assessment of $___________ on count(s)___________. Total $ _________         Due immediately    Pay at sentencing
  . . . . . . Govt’s M otion for Pretrial Detention filed        GRANTED            DENIED       ADVISEMENT
  . . . . . . Govt’s ORAL M otion for Pretrial Detention     GRANTED          DENIED               ADVISEMENT
                                 remains
  . . . . . . Order of Detention filed
  . . . . . . Deft ordered removed/committed to originating /another District of
  . . . . . . No bond set at this time, Order of Temporary Detention Pending Hearing              filed      to be filed
  . . . . . . Waiver of Rule 5 Hearing filed
  . . . . . . Govt’s M otion for waiver of 10-day notice          GRANTED      G DENIED G ADVISEMENT
  . . . . . . Bond    set at $                           reduced to $                         Non-surety      Surety       Personal Recognizance
  . . . . . . Bond    revoked        reinstated      continued      modified
  . . . . . . Defendant detained
  ......                   Hearing        waived      set for                                     continued until
  . . . . . . Set Attorney Flag and notify Federal Grievance Clerk
                                                                  SEE page II for      conditions of bond       additional proceedings
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                                                                   CONDITIONS OF BOND



            . . . . . Travel restricted to Connecticut of extended to
                      upon obtaining permission from USPO. A motion for any other travel with copies to the Govt and to USPO must be filed
                      and approved by the Court.

             . . . . . Deft must reside at


            . . . . . . Deft must report to USPO               times a   G week Gmonth G by telephone G in person G at USPO             discretion.

            . . . . . . Deft    must surrender passport by 4: 00 p. m. on                   ;       M ust not apply for a passport.

            . . . . . . . Deft must refrain from the possession of firearms or dangerous weapons.

            . . . . . . Deft must maintain employment or actively seek employment.

            . . . . . . Deft must refrain from use or unlawful possession, or distribution of a narcotic drug.

            . . . . . . as set forth in the Order Setting Conditions of Release

            . . . . . . . Defendant was assisted at the hearing by counsel and consented to proceed via video conference.

                     Counsel is to meet and confer as to a scheduling order for pretrial deadlines.




                                                              ADDITIONAL PROCEEDINGS



            . . . . . . Deft’s oral motion                                                                         granted    denied     advisement
            ...... Deft’s oral motion                                                                              granted    denied      advisement
           . . . . . . . Deft’s oral motion                                                                        granted    denied      advisement
           . . . . . . . Deft’s oral motion                                                                        granted     denied      advisement
           . . . . . . Govt’s oral motion                                                                          granted     denied     advisement
           . . . . . . Govt’s oral motion                                                                          granted    denied      advisement
           . . . . . . Govt’s oral motion                                                                          granted    denied      advisement
            . . . . . . Govt’s oral motion                                                                         granted     denied     advisement
            . . . . . . # 46   Deft                      M otion for review of bond and release*                   granted     denied     advisement
            ...... #           Deft                      M otion                                                   granted     denied     advisement
            ...... #           Govt M otion                                                                        granted     denied     advisement
            ...... #           Govt M otion                                                                        granted     denied     advisement
            ......                                                                                        filed    granted    denied      advisement
            ......                                                                                        filed    granted     denied     advisement
            ......                                                                                        filed    granted    denied     advisement
            ......                                                                                        filed    granted    denied     advisement
            ......                                                                                         filed    granted    denied    advisement

Notes:

         *Granted in part and Denied in part. The motion is GRATED as to its request for a de novo review. After a de novo review, the
         request for release is DENIED for the reasons started on the record.
